      Case 3:22-cv-06534-MCR-HTC Document 8 Filed 06/22/22 Page 1 of 2
                                                                              Page 1 of 2


                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

ERIC MAJORS, et al.,

      Plaintiffs,

v.                                                  Case No. 3:22cv6534-MCR-HTC

CHARLES PAUL RETTIG, et al.,

     Defendants.
_______________________/

                            ORDER TO SHOW CAUSE

      On May 25, 2022, the Court denied Plaintiff’s motion to proceed in forma

pauperis and ordered Plaintiff to pay the $402.00 filing fee within twenty-one (21)

days. ECF Doc. 4. The Court also outlined several deficiencies in Plaintiff’s

complaint and ordered Plaintiff to file an amended complaint that complies with the

directives set forth in the Order. Id. Plaintiff was advised that his failure to comply

with the Order could result in a recommendation that this case be dismissed due to

his failure to prosecute or failure to comply with an order of the Court. Id. at 6. To

date, Plaintiff has not complied with the May 25 Order.

      Accordingly, it is ORDERED:

      1.     Plaintiff shall have fourteen (14) days from the date of this Order to

show cause why this case should not be dismissed for his failure to prosecute and

failure to comply with a Court order.

Case No. 3:22cv6534-MCR-HTC
     Case 3:22-cv-06534-MCR-HTC Document 8 Filed 06/22/22 Page 2 of 2
                                                                        Page 2 of 2


      2.    The Court will discharge this show cause order if Plaintiff complies

with the Court’s May 25, 2022 Order within fourteen (14) days.

      3.    Plaintiff’s failure to comply with this Order may result in a

recommendation of dismissal without further notice.

      DONE AND ORDERED this 22nd day of June, 2022.

                               /s/ Hope Thai Cannon
                               HOPE THAI CANNON
                               UNITED STATES MAGISTRATE JUDGE




Case No. 3:22cv6534-MCR-HTC
